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Me
Cr ? i | Jennifer Meagher < j.meagher.wattslawfirmpc@gmail.com>

by Gow vale
KNAPIK DISCOVERY ISSUES
1 message

Norman Watts < nwatts.vt@gmail.com> Mon, Jun 24, 2013 at 12:02 PM
To: Edward Kaplan <ekaplan@sulloway.com>

Bcc: j.meagher.wattslawfirmpc@gmail.com

Ed - I rec'd your letter regarding our discovery responses. I am on the west
coast this week and unable to deal with the issues. I will address them next
week upon my return. As you might expect, we have issues with your
responses as well and will explain them next week also.

NW

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https://mail.google.com/mail/u/0/?ui=2&ik=647566bb1d&view=pt&q=from:(nwatts.vt%40... 8/9/2013
